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                                         Friday, 23 April, 2021 10:53:09 AM
                                              Clerk, U.S. District Court, ILCD




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